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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov
_____________________________________
                                          )
In re:                                    )
                                          ) Chapter 11
Banyan Cay Resort & Golf, LLC, et al. 1
                                          )
                                          ) Case No. 23-12386
                                          )
                    Debtor.               ) (Joint Administration Pending)
_____________________________________ )

      DEBTOR IN POSSESSION’S APPLICATION FOR EMPLOYMENT OF KEEN-
      SUMMIT CAPITAL PARTNERS LLC AS MARKETING AGENT AND BROKER

          The above-captioned debtors and debtors in possession (the “Debtors”) in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”) respectfully request an order of the court

authorizing the employment of Keen-Summit Capital Partners LLC (“Keen-Summit”) as

marketing agent and broker for the Debtors, effective as of the Petition Date (as defined herein)

and states as follows in support of this application (this “Application”):2

                                                 Background

          1.      On March 29, 2023 (the “Petition Date”), each of the Debtors, other than Banyan

Cay Mezzanine Borrower, LLC, filed a voluntary petition under chapter 11 of title 11 of the United

States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”). Banyan Cay Mezzanine Borrower,

LLC filed its petition for relief on February 16, 2023.




  1
      The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
      Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; (vi) Banyan Cay Maintenance,
      LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401 .
  2
      In support of this Application, the Debtor relies on the Declaration of Matthew Bordwin in Support of the
      Application for the Employment and Retention of Keen-Summit Capital Partners, LLC as Marketing Agent and
      Broker to the Debtor (the “Bordwin Declaration”), attached hereto as Exhibit B.
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       2.      The Debtors continue to operate their business and manage their affairs as debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       3.      No trustee or examiner has been appointed in the Chapter 11 Cases.

       4.      No committee has been appointed in the Chapter 11 Cases pursuant to section 1102

of the Bankruptcy Code.

       5.      The Debtors require services of a marketing agent and broker to assist the Debtors

in the marketing and sale of substantially all of the real property owned by the Debtors in West

Palm Beach, Florida (collectively, the “Properties”).

                                     Jurisdiction and Venue

       6.      The United States Bankruptcy Court for the Southern District of Florida

(the “Bankruptcy Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

The Debtor confirms its consent, pursuant to Bankruptcy Rule 7008, to the entry of a final order

by the Bankruptcy Court in connection with this Application to the extent that it is later determined

that the Bankruptcy Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       7.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       8.      The statutory bases for the relief requested herein are sections 105(a), 327(a), 330,

and 507(a)(2) of the Bankruptcy Code, Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Local Rules 2014-1 and 2016-1 of the Local Rules of the

United States bankruptcy Court for the Southern District of Florida (the “Local Rules”).

                                         Relief Requested

       9.      By this application, the Debtors seek to employ Keen-Summit as marketing agent

and broker, effective as of the Petition Date, in accordance with the terms and conditions set forth



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in that certain Retention Agreement, dated as of March 16, 2023, and that certain Supplemented

and Restated Retention Agreement, dated as of March 22, 2023, between the Debtors and Keen-

Summit (collectively, the “Keen-Summit Retention Agreement”), a copy of which is attached

hereto as Exhibit 1 to Exhibit B (the Bordwin Declaration) and incorporated herein by reference,

except as otherwise described herein.

       10.     The Debtors seek the retention of Keen-Summit as its marketing agent and broker

pursuant to section 327(a) of the Bankruptcy Code, which provides that, subject to the approval of

the bankruptcy court, a debtor:

       …may employ one or more attorneys, accountants, appraisers, auctioneers, or other
       professional persons, that do not hold or represent an interest adverse to the estate,
       and that are disinterested persons, to represent or assist the trustee in carrying out
       the trustee’s duties under this title.

       11.     Additionally, Bankruptcy Rule 2014(a) requires that an application for retention of

professionals pursuant to section 327 must include:

       …specific facts showing the necessity for the employment, the name of the person
       to be employed, the reasons for the selection, the professional services to be
       rendered, any proposed arrangement for compensation, and, to the best of the
       applicant's knowledge, all of the person’s connections with the debtor, creditors,
       any other party in interest, their respective attorneys and accountants, the United
       States trustee, or any person employed in the office of the United States trustee.

       12.     In addition, under section 328(a) of the Bankruptcy Code, with bankruptcy court

approval, a debtor in possession may employ professional persons under section 327(a) of the

Bankruptcy Code “on any reasonable terms and conditions of employment, including on a retainer,

on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C.

§ 328(a). The Debtors submit that the terms and conditions of Keen-Summit’s employment, as

disclosed in this Application, are reasonable and satisfy the standard for retention under section

328(a) of the Bankruptcy Code.



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       13.      Accordingly, for the reasons stated herein and in the Bordwin Declaration, the

Debtors submit that it is in the best interest of its estate to retain Keen-Summit as their marketing

agent and broker in these Chapter 11 Cases.

                                  Keen-Summit’s Qualifications

       14.      Keen-Summit provides real estate disposition and workout services across North

America and beyond. Their work is characterized by creativity, determination, alertness to

opportunity, good judgment, flexibility, and the strong desire to help their clients meet their goals.

They have been engaged in a variety of matters both in and out of bankruptcy court, including the

$148,383,298 sale of the eight-property real estate portfolio of Seaboard Realty, LLC and its

affiliates in In re Newbury Common Associates, LLC, et al., Case No. 15-12507 (LCC) (Bankr. D.

Del.) and the $100,000,000 sale of L’Ermitage Beverly Hills Hotel at the direction of Michael M.

Eidelman as Special Master appointed by the United States District Court for the Central District

of California at the request of the U.S. Department of Justice in United States v. Real Prop. Known

as the Viceroy L'Ermitage Beverly Hills, Case No. 16-05368-DSF (C.D. Cal.). Keen-Summit has

a stellar reputation in the industry of real estate disposition and workout services, and is well-

qualified to serve as the Debtors’ marketing agent and broker in these Chapter 11 Cases.

                                     Services to Be Provided

       15.      The Debtors submit that the services of Keen-Summit are necessary and essential

to enable the Debtors to carry out the sales of the Properties. Subject to approval by, and further

order of this Court, Keen-Summit will provide various services to the Debtors in support of the

Chapter 11 Cases as follows, as set forth more fully in the Keen-Summit Retention Agreement:

             a. On request, review pertinent documents and will consult with the Debtors’ counsel,
                as appropriate;

             b. Coordinate with the Debtors with respect to the development of due diligence
                materials, the cost of which shall be the Debtors’ sole responsibility;
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             c. Develop, subject to the Debtors’ review and approval, a marketing plan and
                implement each facet of the marketing plan;

             d. Communicate regularly with prospects and maintain records of communications;

             e. Solicit offers for a Transaction (as defined in the Keen-Summit Retention
                Agreement);

             f. Assist the Debtors in evaluating, structuring, negotiating and implementing the
                terms and conditions of a proposed Transaction;

             g. If an auction is to be run, develop and implement, subject to the Debtors’ review
                and approval, an auction plan, including arranging auction logistics, assisting the
                Debtors’ counsel with auction bid procedures, assisting the Debtors to qualify
                bidders, and running the auction;

             h. Communicate regularly with the Debtors and their professional advisors in
                connection with the status of its efforts; and

             i. Work with the Debtors’ attorneys responsible for the implementation of the
                proposed Transactions, reviewing documents, negotiating and assisting in resolving
                problems which may arise.

       16.      Pursuant to the Keen-Summit Retention Agreement, Keen-Summit will have

exclusive right to market and sell the Properties in consultation with the Debtors, through

confirmation of a plan of reorganization, the closing of all Transactions (as defined therein), or

twelve (12) months, whichever comes first, unless extended by mutual consent of the parties.

                                Keen-Summit’s Disinterestedness

       17.      To the best of the Debtors’ knowledge, except as disclosed herein and in the

Bordwin Declaration, (a) Keen-Summit is a “disinterested person” within the meaning of section

101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code and does

not hold or represent any interest adverse to the Debtors; and (b) the professionals of Keen-Summit

have not represented and do not have any connection with the Debtors, their creditors, their equity

holders, or any other party in interest in any matters relating to the Debtors or their estates, except

as articulated herein and in the Bordwin Declaration.


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                             Keen-Summit’s Proposed Compensation

       18.      The Debtors understand that Keen-Summit intends to be compensated for

professional services rendered and reimbursed for expenses incurred in connection with these

Chapter 11 Cases in accordance with applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, orders of the Bankruptcy Court, and the terms of the Keen-

Summit Retention Agreement.

       19.      Specifically, and as more fully described in the Keen-Summit Retention

Agreement, Keen-Summit shall receive, in addition to the reasonable out of pocket costs and

expenses thereof, the following fees:

             a. Engagement Fee. On the Effective Date (of the Keen-Summit Retention
                Agreement), the Debtors shall pay Keen-Summit a nonrefundable advisory and
                consulting fee of thirty-five thousand dollars ($35,000), which fee shall be subject
                to set off against Keen-Summit’s “Transaction Fee”.

             b. “Transaction Fee”. As and when the Debtors closes a Transaction, whether such
                Transaction is completed individually or as part of a package or as part of a sale of
                all or a portion of Company’s business or as part of a plan of reorganization, then
                Keen shall have earned compensation per Transaction equal to:

                               i.       With respect to the sale of one or more Properties, eighty
                                        basis points (0.80%) of Gross Proceeds; and

                              ii.       With respect to a DIP, eighty basis points (0.80%) of the
                                        Gross Proceeds.

                Notwithstanding anything to the contrary contained in the Keen-Summit Retention
                Agreement, in the event of a sale of any of the Properties to any prospects listed on
                Schedule “C” attached to the Keen-Summit Retention Agreement, Keen-Summit’s
                compensation for such sale shall be sixty basis points (0.60%) of Gross Proceeds.

             c. “Minimum Fee” shall mean a minimum cash fee equal to two hundred and fifty
                thousand dollars ($250,000). At the conclusion of this engagement, if Keen has not
                earned $250,000 in fees, then Company shall pay the difference; provided, however,
                for the avoidance of doubt, in the event the Properties do not sell for at least
                $5,000,000.00 in Gross Proceeds, the Minimum Fee shall not be received by or
                owed to Keen-Summit.



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       20.      The Debtors have been advised that the rate structure that Keen-Summit will use in

these Chapter 11 Cases are the same as the rate structure Keen-Summit uses in other restructuring

matters, whether in court or otherwise, regardless of whether a fee application is required and

regardless of the location of the bankruptcy case. Keen-Summit’s rate structure is designed to

fairly compensate Keen-Summit’s professionals and paraprofessionals and to cover routine

expenses. The rates and the rate structure also reflect that the restructuring and other complex

matters typically are national in scope and involve great complexity, time pressure, and high stakes.

       21.      Because Keen-Summit shall not be compensated on an hourly basis and shall

instead be compensated in the form of its reasonable, negotiated fees and expense reimbursements

discussed above and in the Keen-Summit Retention Agreement, the Debtors respectfully request

that Keen-Summit (i) not be required to maintain time records, and (ii) not be required to file

interim and final fee applications, subject to the following conditions:

             a. in the event the Debtors seek to have Keen-Summit personnel assume positions or
                services that are different than the services disclosed in this Application or to
                materially change the terms of the engagement, an Application to modify the
                retention shall be filed;

             b. notwithstanding anything to the contrary contained in the Application, the Keen-
                Summit Retention Agreement, or any exhibits thereto, during the course of the
                Chapter 11 Cases, Keen-Summit shall only seek reimbursement of actual and
                necessary expenses; and

             c. unless otherwise expressly stated in the Keen-Summit Retention Agreement (e.g.,
                the “Engagement Fee”), Keen-Summit shall be paid its fees and reimbursed any
                applicable expenses at the closing of the sale of the Properties from the sale
                proceeds (which payments shall be free and clear of all liens, claims, and
                encumbrances).

       22.      The Debtors respectfully submit that this fee and payment structure is both

reasonable and in the best interest of the Debtors’ estates. Because compensation under the Keen-

Summit Retention Agreement is in the form of a set-rate commission, the detailed filing

requirements of Bankruptcy Rule 2016 and the informational requirements of Local Rule 2016-1

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would require the expenditure of unnecessary time and fees in compiling time records and

preparing fee applications and could hinder Keen-Summit from performing its services in as

efficient a manner possible. Moreover, because Keen-Summit’s compensation will not be a

function of the time spent working on this engagement, and instead constitutes, essentially, a

success fee, keeping time records is completely unnecessary and would be unduly burdensome to

Keen-Summit. To the extent parties in interest object to the terms of the Keen-Summit Retention

Agreement or the compensation contemplated thereby, such parties shall have the opportunity to

have such objections heard in connection with this Application, irrespective of whether Keen-

Summit submits fee applications and time records. Therefore, no party in interest will be

prejudiced by the fee and compensation structure proposed herein.

                                            Indemnification

       23.       Subject to Court approval (including in accordance with the proposed order) and

pursuant to the terms of the Keen-Summit Retention Agreement, in connection with Keen-

Summit’s engagement with the Debtors, the Debtors have agreed to provide indemnification and

contribution to Keen-Summit and its affiliates pursuant to terms substantially similar to the

following (collectively, the “Indemnification Provisions,” capitalized terms not otherwise defined

shall bear the meaning ascribed to such terms in the Keen-Summit Retention Agreement):

             A. The Seller shall defend, indemnify and hold harmless Keen and its
                affiliates, and its respective directors, officers, employees, agents,
                representatives and controlling persons (Keen and each such entity or
                person being an “Indemnified Party”) from and against any and all losses,
                claims, damages, expenses and liabilities (including but not limited to
                counsel fees and disbursements in connection with the investigation of,
                preparation for, or defense of any pending or threatened claim)
                (collectively, “Losses”), as incurred, to which such Indemnified Party may
                become subject, related to or arising out of activities performed by or on
                behalf of an Indemnified Party pursuant to this Agreement, any
                transactions contemplated hereby, the Indemnified Party’s role in
                connection therewith, the Physical Conditions of the Property or
                Properties, and/or Seller’s title to the Property or Properties and/or the
                marketability of such title. The Seller shall have no obligation to

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    indemnify and hold harmless an Indemnified Party for any Losses found
    in a final judgment by a Court of competent jurisdiction to have resulted
    primarily from actions taken or omitted to be taken by the Indemnified
    Party in bad faith or from the Indemnified Party’s gross negligence or
    willful misconduct in performing the services described.

B. Bankruptcy Protocol: Upon Seller’s filing of a bankruptcy petition,
   notwithstanding anything to the contrary:
   1. All requests of Keen for payment of indemnity pursuant to the
      Engagement Letter shall be made by means of an application (interim
      or final as the case may be) and shall be subject to review by the Court
      to ensure that payment of such indemnity conforms to the terms of the
      Engagement Letter and is reasonable based on the circumstances of
      the litigation or settlement in respect of which indemnity is sought,
      provided, however, that in no event shall Keen be indemnified in the
      case of its own bad-faith, self-dealing, breach of fiduciary duty (if
      any), gross negligence or willful misconduct;
   2. In no event shall Keen be indemnified if the Seller or a representative
      of the estate, asserts a claim for, and a court determines by final order
      that such claim arose out of, Keen’s own bad-faith, self-dealing,
      breach of fiduciary duty (if any), gross negligence or willful
      misconduct;
   3. In the event that Keen seeks reimbursement for attorneys’ fees from
      the Seller pursuant to the indemnity provisions in the Engagement
      Letter, the invoices and supporting time records from such attorneys
      shall be included in Keen’s own applications for approval of
      indemnity payments (both interim and final) and such invoices and
      time records shall be subject to the United States Trustee’s guidelines
      for compensation and reimbursement of expenses and the approval of
      the Bankruptcy Court under the standards of Sections 330 and 331 of
      the Bankruptcy code without regard to whether such attorney has been
      retained under Section 327 of the Bankruptcy Code and without regard
      to whether such attorney’s services satisfy Section 330(a)(3)(C) of the
      Bankruptcy Code.

C. The Seller also agrees that Keen, its affiliates, and their respective
   directors, officers, employees, agents, representatives and controlling
   persons shall not be liable (whether directly or indirectly, in contract or
   tort or otherwise) to the Seller or its security holders or creditors, for any
   matter, cause or thing related to or arising out of the engagement of Keen
   pursuant to, or the performance by Keen of the services contemplated by,
   this Agreement, except to the extent that Keen is found in a final judgment
   by a Court of competent jurisdiction to have acted or failed to act in bad
   faith or with gross negligence or willful misconduct in performing the
   services described in this Agreement.

D. The provisions of this Section XI shall be in addition to any liability that
   the Seller may otherwise have and shall be binding upon and inure to the
   benefit of any successors, assigns, heirs, and personal representatives of
   the Seller. These provisions shall be governed by the law of the State of
   New York, without regard to its conflict of law principles, and shall be

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               operative in full force and effect regardless of any termination or
               expiration of this Agreement.

       24.     Accordingly, the Debtors respectfully submit that the employment and retention of

Keen-Summit as its marketing agent and broker is in the best interests of the Debtors and that the

terms of the proposed retention are fair and reasonable.

                                              Notice

       25.     The Debtors will provide notice of this Application to (a) the Office of the United

States Trustee and (b) all parties who have filed and served requests for notice pursuant to

Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be given.

                                         No Prior Request

       26.     No prior application or motion for the relief requested herein has been made to this

or any other court.

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       WHEREFORE, the Debtors respectfully request the entry of an order, substantially in the

form attached hereto as Exhibit A, granting the relief requested herein and such other and further

relief as the Bankruptcy Court deems appropriate under the circumstances.

 Dated: March 29, 2023

                                            Respectfully submitted,

                                             PACK LAW
                                             Proposed Counsel to the Debtors and
                                             Debtors-in-Possession
                                             51 Northeast 24th Street, Suite 108
                                             Miami, Florida 33137
                                             Telephone: (305) 916-4500

                                             By: /s/ Jessey J. Krehl
                                                Joseph A. Pack
                                                Email: joe@packlaw.com
                                                Florida Bar No. 117882

                                                 Jessey J. Krehl
                                                 Email: jessey@packlaw.com
                                                 Florida Bar No. 1025848




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                                       Certificate of Service

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 29th

day of March, 2023 to all interested parties registered to receive e-mail notice/service for this case

via CM/ECF Notice of Electronic Filing.

                                             By:        /s/ Jessey J. Krehl
                                                        Jessey J. Krehl, Esq.




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                      Exhibit A

              Proposed Retention Order
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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov
_____________________________________
                                          )
In re:                                    )
                                          ) Chapter 11
Banyan Cay Resort & Golf, LLC, et al.1    )
                                          ) Case No. 23-12386
                                          )
                    Debtor.               ) (Joint Administration Pending)
_____________________________________ )

      ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF KEEN-
     SUMMIT CAPITAL PARTNERS LLC AS MARKETING AGENT AND BROKER

         Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

possession (the “Debtors”) for entry of an order, as more fully described in the Application,



 1
     The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
     Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay Maintenance,
     LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401 .
 2
     All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.
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authorizing the employment and retention of Keen-Summit as marketing agent and broker,

pursuant to section 327 of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rule

2014-1 and 2016-1; and upon consideration of the Bordwin Declaration submitted in support of

the Application; and the Court being satisfied based on the representations in the Application and

the Bordwin Declaration that Keen-Summit is “disinterested” as that term is defined in section

101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Code, and holds no interest

adverse to the Debtors or their estates in connection with the matters for which Keen-Summit is to

be retained by the Debtors; and the Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and the Court having found that venue of this proceeding and the Application in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and good and sufficient notice of the

Application having been given and no other or further notice being required; and the Court having

reviewed the Application and having heard the statements in support of the relief requested therein

at a hearing before the Court (the “Hearing”); and it appearing that the employment of Keen-

Summit is in the best interest of the Debtors, their estates, and their creditors; and sufficient cause

appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Application is APPROVED as set forth in this Order.

       2.      The Debtor is authorized to employ and retain Keen-Summit as their marketing

agent and broker in these Chapter 11 Cases in accordance with the terms set forth in the Application

and the Bordwin Declaration.

       3.      The Debtors are authorized to enter into the Keen-Summit Retention Agreement

attached as Exhibit 1 to the Bordwin Declaration, effective as of the Petition Date.



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       4.      Keen-Summit is authorized to perform any and all of the services for the Debtors

that are necessary or appropriate in connection with the marketing agent and broker services

described in the Application.

       5.      Keen-Summit shall (i) not be required to maintain time records, and (ii) not be

required to file interim and final fee applications, subject to the following conditions:

            a. in the event the Debtors seek to have Keen-Summit personnel assume positions or
               services that are different than the services disclosed in the Application or to
               materially change the terms of the engagement, an Application to modify the
               retention shall be filed;

            b. notwithstanding anything to the contrary contained in the Application, the Keen-
               Summit Retention Agreement, or any exhibits thereto, during the course of the
               Chapter 11 Cases, Keen-Summit shall only seek reimbursement of actual and
               necessary expenses; and

            c. unless otherwise expressly stated in the Keen-Summit Retention Agreement (e.g.,
               the “Engagement Fee”), Keen-Summit shall be paid its fees and reimbursed any
               applicable expenses at the closing of the sale of the Properties from the sale
               proceeds (which payments shall be free and clear of all liens, claims, and
               encumbrances.

       6.      Furthermore, the Indemnification Provisions of the Keen-Summit Retention

Agreement are hereby approved, provided, however, for the avoidance of doubt, that the Debtors

shall not indemnify Keen-Summit or its affiliates for claims or liabilities arising out of or relating

to any act or omission of the same to the extent such act or omission is determined to be bad-faith,

self-dealing, breach of fiduciary duty (if any), gross negligence, or willful misconduct.

       7.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

       8.      Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Order

shall be immediately effective and enforceable upon its entry.

       9.      In the event of any inconsistency between the Keen-Summit Retention Agreement,

the Application, and this Order, this Order shall govern.

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                                              ###

Submitted by:
Joseph Pack, Esq.
Proposed Counsel for the Debtors and Debtors-in-Possession
Pack Law, P.A.
51 Northeast 24th Street, Suite 108
Miami, Florida 33137
Tel: 305-916-4500
Email: joe@packlaw.com

Attorney Joseph A. Pack, Esq. is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF pursuant to applicable rules.




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                       Exhibit B

             Declaration of Matthew Bordwin
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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov
_____________________________________
                                          )
In re:                                    )
                                          ) Chapter 11
Banyan Cay Resort & Golf, LLC, et al. 1
                                          )
                                          ) Case No. 23-12386
                                          )
                    Debtor.               ) (Joint Administration Pending)
_____________________________________ )

          DECLARATION OF MATTHEW BORDWIN IN SUPPORT OF THE
        APPLICATION FOR THE EMPLOYMENT AND RETENTION OF KEEN-
      SUMMIT CAPITAL PARTNERS LLC AS MARKETING AGENT AND BROKER

          I, Matthew Bordwin, being duly sworn, depose and say to the best of my knowledge:

          1.       I am the Managing Director of Keen-Summit Capital Partners LLC (“Keen-

Summit”). I am the lead professional from Keen-Summit working on the above-captioned chapter

11 cases (the “Chapter 11 Cases”).

          2.       Unless otherwise stated in this declaration, I have personal knowledge of the facts

set forth herein and, if called as a witness, I would testify thereto.

          3.       I submit this declaration (this “Declaration”) in support of the Debtor’s Application

for an Order Authorizing the Employment and Retention of Keen-Summit Capital Partners LLC

as Marketing Agent and Broker (the “Application”),2 in compliance with, and to provide

disclosures pursuant to sections 327, 328 and 329 of title 11 of the United States Code

(the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure



  1
      The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
      Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; (vi) Banyan Cay Maintenance,
      LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401 .
  2
      All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.
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(the “Bankruptcy Rules”) and Rules 2014-1 of the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of Florida (the “Local Rules”).

         4.     Unless otherwise stated in this Declaration, the facts set forth in this Declaration

are based upon my personal knowledge or Keen-Summit’s client/matter records that were

reviewed by me or other Keen-Summit professionals acting under my supervision and direction.

To the extent any information disclosed in this Declaration requires amendment or modification

upon Keen-Summit’s completion of further review or as additional information becomes available,

a supplemental declaration will be submitted to the Bankruptcy Court reflecting such amended or

modified information.

                                   Keen-Summit’s Qualifications

         5.     Keen has extensive expertise in providing real estate and lease transaction services

(i.e., lease renegotiations and lease restructuring services, accelerated sales of real estate and leases

via real estate brokerage, auction and/or M&A processes), and corporate finance and strategic

advisory services (i.e., distressed sell-side M&A services and capital raises). With a particular

expertise in workouts and restructurings, Keen represents, among others, businesses in and out of

Chapter 11 as well as Chapter 7 trustees, shareholders, lenders, property owners, retail and

commercial tenants, investors, developers, creditors and other stakeholders across numerous

industries.

                             Disclosure Concerning Disinterestedness

         6.     The Debtors have provided me the list of creditors in this case and I have reviewed

that list.

         7.     This Declaration is based on the information available to Keen-Summit on the date

hereof. Keen-Summit maintains records of all of its clients. Keen-Summit has reviewed the

schedule of creditors provided to it by the Debtors and has no connection to any party listed. Keen-
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Summit is a subsidiary of Summit Investment Management LLC (“Summit”). Summit is primarily

in the business of buying debt from secured creditors in arms-length transactions. This Declaration

of disinterestedness is not on behalf of Summit. However, to the best of my knowledge, after due

inquiry to Summit, I have been advised that Summit has no connections with the Debtors or their

creditors.

        8.      Keen-Summit may have represented in the past, may currently represent, and likely

in the future will represent parties in interest in connection with matters unrelated to the Debtors

and these Chapter 11 Cases. As part of its practice, Keen-Summit also appears in cases,

proceedings, and transactions involving many different attorneys, accountants, advisors and/or

parties in interest, some of which may represent claimants and parties-in-interest in these Chapter

11 Cases. Keen-Summit does not represent any such entity in connection with these Chapter 11

Cases or have any relationship with any such entity, attorneys, accountants or advisors that would

be adverse to the Debtors or their estates.

        9.      Accordingly, Keen-Summit is a “disinterested person” within the meaning of 11

U.S.C. Section 101(14). Keen-Summit has no business, professional, or other connection with the

Debtors herein or with their attorneys, and does not represent, nor will it represent, any interest

adverse to the estates in the matters in which it is to be engaged. Specifically, to the best of my

knowledge, Keen-Summit, its members, and its employees:

             a. are not creditors, equity security holders, or insiders;

             b. are not and were not investment bankers for any outstanding security of the
                Debtors;

             c. have not been, within three years before the date of the filing of the petition,
                investment bankers for a security of the debtors, or attorneys for such an investment
                bankers in connection with the offer, sale, or issuance of a security of the Debtors;




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             d. are not and were not, within two years before the date of the filing of the petition,
                a director, officer, or employee of the Debtors or of an investment banker specified
                in subparagraph (b) or (c) above; and

             e. do not have an interest materially adverse to the interest of the estate or of any class
                of creditors or equity security holders, by reason of any direct or indirect
                relationship to, connection with, or interest in, the Debtors or an investment banker
                specified in the subparagraph (b) or (c) above, or for any other reason.

       10.      Despite the efforts described above to identify and disclose Keen-Summit’s

connections with parties in interest in these Chapter 11 Cases, Keen-Summit is unable to state with

certainty that every client relationship or other connection has been disclosed. In this regard, if

Keen-Summit discovers additional material information that it determines requires disclosure, it

shall promptly file a supplemental disclosure with this Court.

                        Services to be Provided and Terms of Engagement

       11.      In connection with these Chapter 11 Cases, the Debtors have requested Court

authorization to retain Keen-Summit as its marketing agent and broker. In this capacity, the

professional services that Keen-Summit will provide to the Debtors will be focused upon

marketing the Debtors’ real properties in West Palm Beach, Florida. More particularly, Keen’s

services will include the following:

             a. On request, review pertinent documents and will consult with the Debtors’ counsel,
                as appropriate;

             b. Coordinate with the Debtors the development of due diligence materials, the cost
                of which shall be the Debtors’ sole responsibility;

             c. Develop, subject to the Debtors’ review and approval, a marketing plan and
                implement each facet of the marketing plan;

             d. Communicate regularly with prospects and maintain records of communications;

             e. Solicit offers for a Transaction (as defined in the Keen-Summit Retention
                Agreement);

             f. Assist the Debtors in evaluating, structuring, negotiating and implementing the
                terms and conditions of a proposed Transaction;

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             g. If an auction is to be run, develop and implement, subject to the Debtors’ review
                and approval, an auction plan, including arranging auction logistics, assisting the
                Debtors’ counsel with auction bid procedures, assisting the Debtors to qualify
                bidders, and running the auction;

             h. Communicate regularly with the Debtors and their professional advisors in
                connection with the status of its efforts; and

             i. Work with the Debtors’ attorneys responsible for the implementation of the
                proposed Transactions, reviewing documents, negotiating and assisting in resolving
                problems which may arise.

       12.      The scope of the services to be performed by Keen-Summit and the associated fee

structure are accurately set forth in the Keen-Summit Retention Agreement and Application, as are

the other terms of Keen-Summit’s retention.

       13.      Compensation under the Keen-Summit Retention Agreement is in the form of a set-

rate commission, and accordingly, the detailed filing requirements of Bankruptcy Rule 2016 and

the informational requirements of Local Rule 2016-1 would require the expenditure of unnecessary

time and fees in compiling time records and preparing fee applications that could hinder Keen-

Summit from performing its services in as efficient a manner possible. Moreover, because Keen-

Summit’s compensation will not be a function of the time spent working on this engagement, and

instead constitutes, essentially, a success fee, keeping time records is completely unnecessary and

would be unduly burdensome to Keen-Summit. Therefore, I have been advised that the Debtors

request that Keen-Summit (i) not be required to maintain time records, and (ii) not be required to

file interim and final fee applications, subject to the conditions set forth in the Application and the

Proposed Order.

       14.      In the event the Debtors seek to have Keen-Summit personnel assume positions or

services that are different than the services disclosed in the Application or to materially change the

terms of the engagement, an Application to modify the retention shall be filed.



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       15.     Notwithstanding anything to the contrary contained in the Application, the Keen-

Summit Retention Agreement, or any exhibits thereto, during the course of the Chapter 11 Cases,

Keen-Summit shall only seek reimbursement of actual and necessary expenses.

       16.     Unless otherwise expressly stated in the Keen-Summit Retention Agreement (e.g.,

the “Engagement Fee”), Keen-Summit shall be paid its fees and reimbursed any applicable

expenses at the closing of the sale of the Properties from the sale proceeds.

       17.     Pursuant to Bankruptcy Rule 2016(b), Keen-Summit has not shared nor agreed to

share (a) any compensation it has received or may receive from the Debtors with another party or

person or (b) any compensation another person or party has received or may receive.

                          [Remainder of Page Intentionally Left Blank]




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       I declare under penalty of perjury under the laws of the United States and the State of

Florida that the foregoing is true and correct to the best of my knowledge and belief.

       Dated: March 29, 2023


                                      By: /s/ Matthew Bordwin
                                      Matthew Bordwin, Principal and Co-President
                                      Keen-Summit Capital Partners LLC
                                      1 Huntington Quadrangle, Suite 2C04
                                      Melville, NY 11747
                                      Phone: 646-381-9222
                                      Email: mbordwin@Keen-Summit.com




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                   Composite Exhibit 1
          to the Declaration of Matthew Bordwin

            Keen-Summit Retention Agreement
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